         Case 8:21-bk-11710-SC Doc 213 Filed 09/01/22 Entered 09/01/22 21:17:17                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 21-11710-ES
Jamie Lynn Gallian                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 30, 2022                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 01, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Aug 31 2022 00:25:00      Jamie Lynn Gallian, 16222 Monterey Ln Unit 376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 01, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 30, 2022 at the address(es) listed
below:
Name                               Email Address
Aaron E DE Leest
                                   on behalf of Trustee Jeffrey I Golden (TR) adeleest@DanningGill.com danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Brandon J Iskander
                                   on behalf of Creditor The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

D Edward Hays
                                   on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com
         Case 8:21-bk-11710-SC Doc 213 Filed 09/01/22 Entered 09/01/22 21:17:17                                                       Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0973-8                                         User: admin                                                            Page 2 of 2
Date Rcvd: Aug 30, 2022                                      Form ID: pdf042                                                       Total Noticed: 1
D Edward Hays
                             on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Eric P Israel
                             on behalf of Trustee Jeffrey I Golden (TR) eisrael@DanningGill.com danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Jeffrey I Golden (TR)
                             lwerner@wgllp.com jig@trustesolutions.net;kadele@wgllp.com

Laila Masud
                             on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor
                             on behalf of Interested Party Courtesy NEF mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Mark A Mellor
                             on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Creditor The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Valerie Smith
                             on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 17
Case 8:21-bk-11710-SC Doc 213 Filed 09/01/22 Entered 09/01/22 21:17:17                              Desc
                    Imaged Certificate of Notice Page 3 of 4


    D. EDWARD HAYS, #162507
  1 ehays@marshackhays.com
    LAILA MASUD, #311731
  2 lmasud@marshackhays.com                                FILED & ENTERED
    BRADFORD N. BARNHARDT, #328705
  3 bbarnhardt@marshackhays.com
    MARSHACK HAYS LLP                                              AUG 30 2022
  4 870 Roosevelt
    Irvine, CA 92620                                        CLERK U.S. BANKRUPTCY COURT
  5 Telephone: (949) 333-7777                               Central District of California
                                                            BY jle        DEPUTY CLERK
    Facsimile: (949) 333-7778
  6
    Attorneys for Movant and Creditor,
  7 HOUSER BROS. CO. dba RANCHO DEL
    REY MOBILE HOME ESTATES
  8
                              UNITED STATES BANKRUPTCY COURT
  9
                  CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 10
      In re                                    Case No. 8:21-bk-11710-ES
 11
      JAMIE LYNN GALLIAN,                      Chapter 7
 12
                      Debtor.                  ORDER DENYING MOTION FOR LEAVE
 13                                            FROM THE BANKRUPTCY APPEAL PANEL
                                               TO PERMIT THE BANKRUPTCY COURT TO
 14                                            &216,'(5'(%725¶6027,21)255(-
                                               CONSIDERATION [DOC 157] ON AUGUST
 15                                            18, 2022
 16                                                      [MOTION: DOCKET NO. 167]
 17

 18         On August 1, 2022, as Docket No. 167, -DPLH/\QQ*DOOLDQ ³'HEWRU´ ILOHGD³0RWLRQ
 19 for Leave from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to Consider

 20 'HEWRU¶V0RWLRQIRU5H-&RQVLGHUDWLRQ>'RF@RQ$XJXVW´ ³0RWLRQ´ 'HEWRUdid

 21 not set the Motion for hearing as required by Rule 9013-1(b)(2) of the Local Bankruptcy Rules

 22 ³/%5´ , nor does the Motion provide that it is noticed pursuant to LBR 9013-1(o).

 23         On August 9, 2022, as Docket No. 182, Houser Bros. Co. dba Rancho Del Rey Mobile
 24 +RPH(VWDWHV ³+RXVHU%URV´ ILOHGDQ³2SSRVLWLRQDQG5HTXHVWIRU+HDULQJRQ'HEWRU¶V

 25 Motion for Leave from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to

 26 &RQVLGHU'HEWRU¶V0RWLRQIRU5HFRQVLGHUDWLRQ´ ³2SSRVLWLRQ´ +RXVHU%URVSURvided proof of
 27 service of the Opposition on Debtor on that same date. Docket No. 182.

 28


                                                     1
Case 8:21-bk-11710-SC Doc 213 Filed 09/01/22 Entered 09/01/22 21:17:17                             Desc
                    Imaged Certificate of Notice Page 4 of 4



  1            More than 14 days have passed since the filing and service of the Opposition, and
  2 Debtor has not set the Motion for hearing.
  3            IT IS ORDERED that:
  4            1.       Pursuant to LBR 9013-1(o)(4), the Motion is denied without prejudice.
  5
  6                                                  ###
  7
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23     Date: August 30, 2022

 24

 25

 26
 27   4887-9822-9808, v. 1

 28


                                                          2
